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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SUGARTOWN WORLDWIDE LLC,

               Plaintiff,                              Case No. 19-cv-05668

v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,


               Defendants.


                                           COMPLAINT

       Plaintiff Sugartown Worldwide LLC (“Lilly Pulitzer” or “Plaintiff”) hereby brings the

present action against The Partnerships and Unincorporated Associations identified on Schedule

A attached hereto (collectively, “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

§ 1367(a), because the state law claims are so related to the federal claims that they form part of

the same case or controversy and derive from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at
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least the fully interactive commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using counterfeit versions

of Lilly Pulitzer’s trademarks and/or unauthorized copies of Lilly Pulitzer’s federally registered

copyrighted designs (collectively, the “Unauthorized Lilly Pulitzer Products”). Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer shipping

to the United States, including Illinois, accepts payment in U.S. dollars and, on information and

belief, has sold Unauthorized Lilly Pulitzer Products to residents of Illinois.        Each of the

Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Lilly Pulitzer substantial injury in the State of Illinois.

                                      II. INTRODUCTION

       3.      This action has been filed by Lilly Pulitzer to combat online counterfeiters who

trade upon Lilly Pulitzer’s reputation and goodwill by selling and/or offering for sale Unauthorized

Lilly Pulitzer Products. The Defendants create the Defendant Internet Stores by the dozens and

design them to appear to be selling genuine Lilly Pulitzer products, while actually selling

Unauthorized Lilly Pulitzer Products to unknowing consumers. The Defendant Internet Stores

share unique identifiers, such as design elements and similarities of the unauthorized products

offered for sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions or

occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both their

identities and the full scope and interworking of their counterfeiting operation. Lilly Pulitzer is



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forced to file this action to combat Defendants’ counterfeiting of its registered trademarks and

infringement of its registered copyrighted designs, as well as to protect unknowing consumers

from purchasing Unauthorized Lilly Pulitzer Products over the Internet. Lilly Pulitzer has been

and continues to be irreparably damaged through the infringement of its valuable trademarks and

copyrighted designs as a result of Defendants’ actions and seeks injunctive and monetary relief.

                                      III.   THE PARTIES

Plaintiffs

       4.      Plaintiff is a limited liability company organized and existing under the laws of the

state of Delaware, having a principal place of business at 999 Peachtree Street, NE, Suite 688,

Atlanta, Georgia 30309. Plaintiff designs, markets, distributes, and sells upscale collections of

women's and girl's dresses, sportswear and other products. Lilly Pulitzer was originally created in

the late 1950's with a brand heritage and aesthetic based on the Palm Beach resort lifestyle.

       5.      For generations, Lilly Pulitzer has come to represent the resort lifestyle for women

and girls of all ages. Lilly Pulitzer designs, manufactures, distributes, and sells a wide variety of

products including clothing, jewelry, bags, and accessories (collectively, the “Lilly Pulitzer

Products”), all of which prominently display Lilly Pulitzer’s federally registered trademarks and/or

copyrighted designs. Lilly Pulitzer Products are renowned for their high quality and style and are

identified and recognized by the use of the Lilly Pulitzer name, copyrighted designs, and

trademarks.

       6.      Lilly Pulitzer Products have become enormously popular and even iconic, driven

by the brand’s arduous quality standards and innovative designs. Among the purchasing public,

genuine Lilly Pulitzer Products are instantly recognizable as such. In the United States and in

many other countries, the Lilly Pulitzer brand has come to symbolize high quality, and Lilly



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Pulitzer Products are among the most recognizable of their kind in the world. Lilly Pulitzer

Products are distributed and sold to consumers throughout the United States and can be found in

Lilly Pulitzer branded stores, in high-end department stores such as Nordstrom and Belk, in a

variety of independent specialty stores, and on Lilly Pulitzer’s e-commerce website at

lillypulitzer.com.

       7.      Lilly Pulitzer incorporates a variety of distinctive marks in the design of its various

Lilly Pulitzer Products. As a result of its long-standing use, Lilly Pulitzer owns common law

trademark rights in its trademarks. Lilly Pulitzer has also registered its trademarks with the United

States Patent and Trademark Office. Lilly Pulitzer Products typically include at least one of Lilly

Pulitzer’s registered trademarks. Often, several Lilly Pulitzer marks are displayed on a single

product. Lilly Pulitzer uses its trademarks in connection with the marketing of its Lilly Pulitzer

Products, including the following marks which are collectively referred to as the “Lilly Pulitzer

Trademarks.”

  REGISTRATION                REGISTERED                            INTERNATIONAL
    NUMBER                    TRADEMARK                                  CLASSES
                                                        For: clothing-Namely, Jeans, Pants,
                           LILLY PULITZER               Slacks, Shirts, Belts, Jackets, Skirts and
     1,157,374
                              (word mark)               Shorts in class 025.

                                                        For: jeans, pants, slacks, shirts, jackets,
                                                        skirts, shorts, dresses, sweaters, blouses,
                                                        swimwear, sleepwear, children's wear;
                           LILLY PULITZER
     1,926,195                                          namely, dresses in class 025
                              (word mark)
                                                        For: tote bags in class 018.

                                                        For: agenda and notebook planner
                                                        books in class 016.
                           LILLY PULITZER
     1,990,353                                          For: handbags, umbrellas and knapsacks
                              (word mark)
                                                        in class 018.

                                                        For: sleepwear, robes, footwear in class

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REGISTRATION          REGISTERED                       INTERNATIONAL
  NUMBER              TRADEMARK                           CLASSES
                                           025.

                                           For: perfume, fragrances for personal
                                           use and body creams in class 003.
  3,620,844        LILLY PULITZER
                      (word mark)          For: eyeglasses, sunglasses, and
                                           eyewear cases in class 009.

                                           For: belts, raincoats, headwear, namely,
                                           children's wear, namely, sweaters,
                   LILLY PULITZER
  2,152,933                                blouses, shirts, skirts, jeans, pants,
                      (word mark)
                                           slacks and shorts in class 025.

                                           For: precious and non-precious jewelry
  2,880,228        LILLY PULITZER
                                           and watches in class 014.
                      (word mark)
                   LILLY PULITZER          For: cosmetics in class 003.
  4,832,850
                      (word mark)
                                           For: protective covers and cases for cell
                                           phones, laptops and portable media
                                           players; Sunglass chains and cords in
                                           class 009.

                                           For: bowls; drinking cups; drinking
                   LILLY PULITZER
  4,111,667                                glasses, namely, tumblers; glass
                      (word mark)
                                           beverageware; Ice buckets; plastic water
                                           bottles sold empty; plates; portable
                                           coolers; reusable stainless steel water
                                           bottles sold empty; and serving trays in
                                           class 021.

                                           For: eyeglasses, sunglasses, eyewear
                                           cases, eyewear including women's and
  3,612,987
                                           children's sunglasses and ophthalmic
                                           frames in class 009.

                                           For: clothing, namely, jeans, pants,
                                           slacks, shirts, belts, jackets, skirts,
                                           shorts, dresses, sweaters, blouses,
  3,686,521                                swimwear, gowns, sleepwear, robes,
                                           raincoats; children's wear, namely,
                                           dresses, sweaters, blouses, shirts, jeans,
                                           pants, slacks, and shorts; footwear in
                                           class 025.

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REGISTRATION          REGISTERED                       INTERNATIONAL
  NUMBER              TRADEMARK                           CLASSES

  3,841,879                                For: non-precious jewelry in class 014.


                      LUXLETIC
  4,729,221                                For: dresses, pants, and shirts in class
                      (word mark)
                                           025.
                     BABY LILLY            For: dresses, Jumpers, and Shirts in
  5,768,102           (word mark)          class 025.

                     LITTLE LILLY
  4,108,919                                For: dresses in class 025.
                      (word mark)



                                           For: dresses, Shirts, and Swimwear in
  5,765,823
                                           class 025.




                                           For: dresses, Pants, Shirts, and Shorts in
  5,576,301
                                           class 025.


                                           For: bags, namely, tote bags, handbags,
                                           knapsacks, beach bags, clutch bags,
                                           wallets in class 018.

                                           For: clothing, namely, jeans, pants,
                                           slacks, shirts, belts, jackets, skirts,
                                           shorts, dresses, sweaters, blouses,
                                           footwear; men's clothing, namely, swim
                                           trunks, ties and boxer shorts; men's
  3,958,316
                                           pants, sweaters, shirts in class 025.

                                           For: retail stores featuring clothing,
                                           household linens, personal fragrance,
                                           home fragrance, stationery, sunglasses,
                                           shoes, clothing accessories, bags; on-
                                           line retail store featuring clothing,
                                           household linens, personal fragrance,
                                           home fragrance, stationery, sunglasses,
                                           shoes, clothing accessories, bags in
                                           class 035.

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          8.    The Lilly Pulitzer Trademarks have been used exclusively and continuously in the

U.S. by Lilly Pulitzer, and have never been abandoned. The above U.S. registrations for the Lilly

Pulitzer Trademarks are valid, subsisting, and in full force and effect, and many are incontestable

pursuant to 15 U.S.C. § 1065. True and correct copies of the federal trademark registration

certificates for the above Lilly Pulitzer Trademarks are attached hereto as Exhibit 1. The

registrations for the Lilly Pulitzer Trademarks constitute prima facie evidence of their validity and

of Lilly Pulitzer’s exclusive right to use the Lilly Pulitzer Trademarks pursuant to 15 U.S.C. §

1057(b).

          9.    The Lilly Pulitzer Trademarks are exclusive to Lilly Pulitzer, and are displayed

extensively on Lilly Pulitzer Products and in Lilly Pulitzer’s marketing and promotional materials.

Lilly Pulitzer Products have long been among the most popular of their kind in the world and have

been extensively promoted and advertised at great expense. In fact, Lilly Pulitzer has expended

millions of dollars annually in advertising, promoting and marketing featuring the Lilly Pulitzer

Trademarks. Lilly Pulitzer Products have also been the subject of extensive unsolicited publicity

resulting from their high quality and popularity. Because of these and other factors, the Lilly

Pulitzer name and the Lilly Pulitzer Trademarks have become famous throughout the United

States.

          10.   The Lilly Pulitzer Trademarks are distinctive when applied to the Lilly Pulitzer

Products, signifying to the purchaser that the products come from Lilly Pulitzer and are

manufactured to Lilly Pulitzer’s quality standards. Whether Lilly Pulitzer manufactures the

products itself or licenses others to do so, it has ensured that products bearing its trademarks are

manufactured to the highest quality standards.




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        11.     Lilly Pulitzer has expended substantial time, money, and other resources in

developing, advertising, and otherwise promoting the Lilly Pulitzer Trademarks. As a result,

products bearing the Lilly Pulitzer Trademarks are widely recognized and exclusively associated

by consumers, the public, and the trade as being products sourced from Lilly Pulitzer. The Lilly

Pulitzer Trademarks have achieved tremendous fame and recognition over the years, which has

only added to the distinctiveness of the marks. As such, the goodwill associated with the Lilly

Pulitzer Trademarks is of incalculable and inestimable value to Lilly Pulitzer.

        12.     For over the past decade, Lilly Pulitzer has operated an e-commerce website where

it promotes and sells genuine Lilly Pulitzer Products at lillypulitzer.com. Sales of Lilly Pulitzer

Products via the lillypulitzer.com website represent a significant portion of Lilly Pulitzer’s

business. The lillypulitzer.com website features proprietary content, images and designs exclusive

to Lilly Pulitzer.

        13.     Lilly Pulitzer has registered many of its designs with the United States Copyright

Office (collectively, the “Lilly Pulitzer Copyrighted Designs”), including the following:

   U.S. Copyright
                                        Work Title                            Issue Date
   Registration No.
   VAu001033885                         “Spring 2011”                     August 2, 2010
   VAu001103843                 “Fall 2012 VV4 Tusk In Sun”                May 9, 2012
   VAu001134491                    “Resort 2013 EJ8 Lulu”                  May 15, 2013
   VAu001103576               “Resort 2012 AR3 Crown Jewels”               May 7, 2012
   VAu001134623              “Resort 2013 EK2 Feelin’ Groovy”              May 15, 2013
                             “Summer 2013 DA8 Let’s Cha Cha              November 21, 2012
    VAu001118082
                                            Mini.”
    VAu001201484            “2015 Resort Fall KS9 Toucan Play”           February 13, 2015
    VAu001212013                “2015 Resort LF9 Oh Shello”                May 12, 2015
    VAu001125283               “Fall 2013 DS6 Hearts a Flutter”          February 13, 2013
                                 “Summer 2013 DQ7 She’s a                November 21, 2012
    VAu001118290
                                         Firecracker”
    VAu001142080             “Spring 2014 FE1 The Sea Soiree”             August 15, 2013
    VAu001153371             “Summer 2014 GS1 Lobstah Roll”              November 27, 2013
    VAu001153389            “Summer 2014 GK6 She She Shells”             November 26, 2013

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   VAu001103512                “Fall 2012 AAA Wild Confetti”                 May 9, 2012
   VAu001103494                 “Fall 2012 SS6 Wild Confetti”                May 9, 2012
                              “2018 Spring Final XP8 Catch the              August 28, 2017
   VAu001291278
                                            Wave”
                               “Summer 2012 - Z14 You Gotta                November 29, 2011
   VAu001090664
                                           Regatta”
   VAu001134649                  “Resort 2013 E16 Mai Tai”                   May 15, 2013
                              “2016 Resort Fall GM8 Jellies Be              August 13, 2015
   VAu001232196
                                          Jammin”
   VAu001324373              “2019 Summer Initial Cracked Up”                June 28, 2018
                          “Spring 2013 BX1 Lucky Charms Blue                August 16, 2012
   VAu001111221
                                        Full Blossom”
   VAu001232291           “2016 Resort Fall OG2 Exotic Garden”              August 13, 2015
   VAu001189807           “Summer 2015 KB6 Red Right Return”               November 13, 2014
   VAu001271341                 “2018 Spring Gumbo Limbo”                    March 6, 2017
   VAu001200718            “2016 Spring Initial MH3 Flamenco”               March 11, 2015
   VAu001200364             “2016 Spring Initial MD6 La Playa”              March 10, 2015
   VAu001111219            “Spring 2013 CB9 Ice Cream Social”               August 16, 2012
   VAu001157836                 “Fall 2014 HC2 Electric Feel”              February 24, 2014
   VAu001219943              “2016 Summer NJ7 Lovers Coral”                  June 12, 2015
   VAu001125294               “Fall 2013 DY8 Bait and Switch”              February 26, 2013
   VAu001189684              “Summer 2015 KD1 Casa Marina”                 November 13, 2014
                               “Spring 2017 Initial RI3 Guilty               March 1, 2016
   VAu001238224
                                          Pleasure”
   VAu001201471            “2015 Resort Fall KT7 Private Island”           February 13, 2015
                            “2018 Fall Final BE1 Mermaid Cove              February 23, 2018
   VAu001308176
                             Engineered Skipper Dress Border”
                            “2016 Resort Fall OE9 Psychedelic              February 18, 2016
   VAu001238724
                                          Sunshine”
   VAu001134489            “Resort 2013 FD8 Written in the Sun”               May 15, 2013

True and correct copies of the U.S. federal copyright registration certificates and U.S. Copyright

Office registration information for the above-referenced Lilly Pulitzer Copyrighted Designs are

attached hereto as Exhibit 2.

       14.     Among the exclusive rights granted to Lilly Pulitzer under the U.S. Copyright Act

are the exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display

the Lilly Pulitzer Copyrighted Designs to the public.



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The Defendants

        15.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within the State of Illinois and this Judicial

District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell Unauthorized Lilly Pulitzer Products to consumers within the United States,

including the State of Illinois.

        16.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of the Lilly Pulitzer Trademarks and/or

unauthorized copies of the Lilly Pulitzer Copyrighted Designs in the same transaction, occurrence,

or series of transactions or occurrences. Tactics used by Defendants to conceal their identities and

the full scope of their operation make it virtually impossible for Lilly Pulitzer to learn Defendants’

true identities and the exact interworking of their network. In the event that Defendants provide

additional credible information regarding their identities, Lilly Pulitzer will take appropriate steps

to amend the Complaint.

                          IV.      DEFENDANTS’ UNLAWFUL CONDUCT

        17.     The success of the Lilly Pulitzer brand has resulted in its significant counterfeiting.

Consequently, Lilly Pulitzer has a worldwide brand protection program and regularly investigates

suspicious websites and online marketplace listings identified in proactive Internet sweeps and

reported by consumers. Lilly Pulitzer has identified numerous domain names linked to fully



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interactive websites and marketplace listings on platforms such as iOffer, eBay, AliExpress,

Alibaba, Amazon, Wish.com, and Dhgate, including the Defendant Internet Stores, which were

offering for sale and selling Unauthorized Lilly Pulitzer Products to consumers in this Judicial

District and throughout the United States. Despite Lilly Pulitzer’s enforcement efforts, Defendants

have persisted in creating the Defendant Internet Stores. E-commerce sales, including through

Internet stores like those of Defendants, have resulted in a sharp increase in the shipment of

unauthorized products into the United States. Exhibit 3, Excerpts from Fiscal Year 2018 U.S.

Customs and Border Protection (“CBP”) Intellectual Property Seizure Statistics Report. Over 90%

of all CBP intellectual property seizures were smaller international mail and express shipments (as

opposed to large shipping containers). Id. Over 85% of CBP seizures originated from mainland

China and Hong Kong. Id. Counterfeit and pirated products account for billions in economic

losses, resulting in tens of thousands of lost jobs for legitimate businesses and broader economic

losses, including lost tax revenue.

       18.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers. Many of the Defendant Internet Stores look sophisticated

and accept payment in U.S. dollars via credit cards, Alipay, Amazon Pay, Western Union and/or

PayPal. Upon information and belief, the Defendant Internet Stores often include content and

design elements that make it very difficult for consumers to distinguish such counterfeit sites from

an authorized retailer. Upon information and belief, many Defendants further perpetuate the

illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. Lilly Pulitzer has not licensed or authorized Defendants to



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use its Lilly Pulitzer Trademarks or copy or distribute the Lilly Pulitzer Copyrighted Designs, and

none of the Defendants are authorized retailers of genuine Lilly Pulitzer Products.

       19.     Upon information and belief, many Defendants also deceive unknowing consumers

by using the Lilly Pulitzer Trademarks without authorization within the content, text, and/or meta

tags of their websites in order to attract various search engines crawling the Internet looking for

websites relevant to consumer searches for Lilly Pulitzer Products. Additionally, upon information

and belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Stores’ listings show up at or near the top of

relevant search results and misdirect consumers searching for genuine Lilly Pulitzer Products.

Other Defendants only show Lilly Pulitzer Trademarks in product images while using strategic

item titles and descriptions that will trigger their listings when consumers are searching for Lilly

Pulitzer Products.

       20.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and contact

information. Upon information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Upon information and belief,

such Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.



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       21.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, many of the Defendant

websites have virtually identical layouts, even though different aliases were used to register the

respective domain names. In addition, Unauthorized Lilly Pulitzer Products for sale in the

Defendant Internet Stores bear similar irregularities and indicia of being unauthorized, suggesting

that the Unauthorized Lilly Pulitzer Products were manufactured by and come from a common

source and that, upon information and belief, Defendants are interrelated. The Defendant Internet

Stores also include other notable common features, including use of the same domain name

registration patterns, shopping cart platforms, accepted payment methods, check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, the same

incorrect grammar and misspellings, similar hosting services, similar name servers, and the use of

the same text and images.

       22.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

domain names or online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down

demands sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection.

       23.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can



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continue operation in spite of Lilly Pulitzer’s enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

or other financial accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of PayPal transaction logs from previous similar cases indicate that off-shore

counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       24.     Defendants, without any authorization or license from Lilly Pulitzer, have

knowingly and willfully used and continue to use the Lilly Pulitzer Trademarks and/or copies of

the Lilly Pulitzer Copyrighted Designs in connection with the advertisement, distribution, offering

for sale, and sale of Unauthorized Lilly Pulitzer Products into the United States and Illinois over

the Internet. Each Defendant Internet Store offers shipping to the United States, including Illinois,

and, on information and belief, each Defendant has sold Unauthorized Lilly Pulitzer Products into

the United States, including Illinois.

       25.     Defendants’ unauthorized use of the Lilly Pulitzer Trademarks in connection with

the advertising, distribution, offering for sale, and sale of Unauthorized Lilly Pulitzer Products,

including the sale of Unauthorized Lilly Pulitzer Products into the United States, including Illinois,

is likely to cause and has caused confusion, mistake, and deception by and among consumers and

is irreparably harming Lilly Pulitzer.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       26.     Lilly Pulitzer hereby re-alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 25.

       27.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Lilly Pulitzer

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Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The Lilly Pulitzer Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Lilly Pulitzer Products offered, sold or marketed under

the Lilly Pulitzer Trademarks.

       28.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the Lilly Pulitzer Trademarks without Lilly Pulitzer’s permission.

       29.     Lilly Pulitzer is the exclusive owner of the Lilly Pulitzer Trademarks. Lilly

Pulitzer’s United States Registrations for the Lilly Pulitzer Trademarks (Exhibit 1) are in full force

and effect. Upon information and belief, Defendants have knowledge of Lilly Pulitzer’s rights in

the Lilly Pulitzer Trademarks, and are willfully infringing and intentionally using counterfeits of

the Lilly Pulitzer Trademarks. Defendants’ willful, intentional and unauthorized use of the Lilly

Pulitzer Trademarks is likely to cause and is causing confusion, mistake, and deception as to the

origin and quality of the counterfeit goods among the general public.

       30.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       31.     Lilly Pulitzer has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Lilly Pulitzer will continue to suffer irreparable harm to its reputation and the goodwill

of its famous Lilly Pulitzer Trademarks.

       32.     The injuries and damages sustained by Lilly Pulitzer have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Unauthorized Lilly Pulitzer Products.




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                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        33.    Lilly Pulitzer hereby re-alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 32.

        34.    Defendants’ promotion, marketing, offering for sale, and sale of Unauthorized Lilly

Pulitzer Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Lilly Pulitzer or the

origin, sponsorship, or approval of Defendants’ Unauthorized Lilly Pulitzer Products by Lilly

Pulitzer.

        35.    By using the Lilly Pulitzer Trademarks on the Unauthorized Lilly Pulitzer Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Unauthorized Lilly Pulitzer Products.

        36.    Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Unauthorized Lilly Pulitzer Products to the general public involves the

use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. §

1125.

        37.    Lilly Pulitzer has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Lilly Pulitzer will continue to suffer irreparable harm to its reputation and the associated

goodwill of its brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

        38.    Lilly Pulitzer hereby re-alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 37.




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        39.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their Unauthorized Lilly Pulitzer Products as those of Lilly Pulitzer, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine Lilly Pulitzer Products, representing that their products have Lilly Pulitzer’s approval

when they do not, and engaging in other conduct which creates a likelihood of confusion or

misunderstanding among the public.

        40.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

        41.     Lilly Pulitzer has no adequate remedy at law, and Defendants’ conduct has caused

Lilly Pulitzer to suffer damage to its reputation and associated goodwill. Unless enjoined by the

Court, Lilly Pulitzer will suffer future irreparable harm as a direct result of Defendants’ unlawful

activities.

                                  COUNT IV
              COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                      REGISTRATIONS (17 U.S.C. §§ 106 AND 501)

        42.     Lilly Pulitzer hereby re-alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 41.

        43.     Lilly Pulitzer is the owner of valid and enforceable Lilly Pulitzer Copyrighted

Designs, which contain certain copyrightable subject matter under 17 U.S.C. §§ 101, et seq.

        44.     Lilly Pulitzer has complied with the registration requirements of 17 U.S.C. § 411(a)

for the Lilly Pulitzer Copyrighted Designs and has obtained copyright registrations for the Lilly

Pulitzer Copyrighted Designs.




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       45.     Defendants do not have any ownership interest in the Lilly Pulitzer Copyrighted

Designs. Defendants had access to the Lilly Pulitzer Copyrighted Design via the internet.

       46.     Without authorization from Lilly Pulitzer, or any right under the law, Defendants

have deliberately copied, displayed, distributed, reproduced and/or made derivative works

incorporating the Lilly Pulitzer Copyrighted Designs on the Defendant Internet Stores and the

corresponding Unauthorized Lilly Pulitzer Products. Defendants’ derivative works are virtually

identical to and/or are substantially similar to the look and feel of the Lilly Pulitzer Copyrighted

Designs. Such conduct infringes and continues to infringe the Lilly Pulitzer Copyrighted Designs

in violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

       47.     Defendants reap the benefits of the unauthorized copying and distribution of the

Lilly Pulitzer Copyrighted Design in the form of revenue and other profits that are driven by the

sale of Unauthorized Lilly Pulitzer Products.

       48.     The Defendants have unlawfully appropriated Lilly Pulitzer’s protectable

expression by taking material of substance and value and creating Unauthorized Lilly Pulitzer

Products that capture the total concept and feel of the Lilly Pulitzer Copyrighted Designs.

       49.     Upon information and belief, the Defendants’ infringement has been willful,

intentional, and purposeful, and in disregard of and with indifference to, Lilly Pulitzer’s rights.

       50.     The Defendants, by their actions, have damaged Lilly Pulitzer in an amount to be

determined at trial.

       51.     Defendants’ conduct is causing, and unless enjoined and restrained by this Court

will continue to cause, Lilly Pulitzer great and irreparable injury that cannot fully be compensated

or measured in money. Lilly Pulitzer has no adequate remedy at law. Pursuant to 17 U.S.C. §




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502, Lilly Pulitzer is entitled to a preliminary and permanent injunction prohibiting further

infringement of the Lilly Pulitzer Copyrighted Designs.

                                    PRAYER FOR RELIEF

WHEREFORE, Lilly Pulitzer prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under, or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the Lilly Pulitzer Trademarks or any reproductions, counterfeit copies, or

           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           Lilly Pulitzer Product or is not authorized by Lilly Pulitzer to be sold in connection

           with the Lilly Pulitzer Trademarks;

       b. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Lilly Pulitzer Copyrighted Designs in any manner without the express authorization

           of Lilly Pulitzer;

       c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Lilly Pulitzer Product or any other product produced by Lilly Pulitzer that is not Lilly

           Pulitzer’s or not produced under the authorization, control, or supervision of Lilly

           Pulitzer and approved by Lilly Pulitzer for sale under the Lilly Pulitzer Trademarks

           and/or the Lilly Pulitzer Copyrighted Designs;

       d. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Lilly Pulitzer Products are those sold under the authorization, control, or




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           supervision of Lilly Pulitzer, or are sponsored by, approved by, or otherwise connected

           with Lilly Pulitzer;

       e. further infringing the Lilly Pulitzer Trademarks and/or the Lilly Pulitzer Copyrighted

           Designs and damaging Lilly Pulitzer’s goodwill; and

       f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Lilly Pulitzer, nor authorized by Lilly Pulitzer to

           be sold or offered for sale, and which bear any Lilly Pulitzer trademark, including the

           Lilly Pulitzer Trademarks, or any reproductions, counterfeit copies, or colorable

           imitations thereof and/or which bear the Lilly Pulitzer Copyrighted Designs;

2) Entry of an Order that, at Lilly Pulitzer’s choosing, the registrant of the Defendant Domain

   Names shall be changed from the current registrant to Lilly Pulitzer, and that the domain name

   registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

   Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

   unlock and change the registrar of record for the Defendant Domain Names to a registrar of

   Lilly Pulitzer’s selection, and that the domain name registrars, including, but not limited to,

   GoDaddy Operating Company, LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Lilly

   Pulitzer’s selection; or that the same domain name registries shall disable the Defendant

   Domain Names and make them inactive and untransferable;

3) Entry of an Order that, upon Lilly Pulitzer’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms



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   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts,

   sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods using the Lilly Pulitzer Trademarks and/or which

          bear the Lilly Pulitzer Copyrighted Designs;

       b. disable and cease displaying any advertisements used by or associated with Defendants

          in connection with the sale of counterfeit and infringing goods using the Lilly Pulitzer

          Trademarks and/or which bear the Lilly Pulitzer Copyrighted Designs; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified on

          Schedule A from displaying in search results, including, but not limited to, removing

          links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Lilly Pulitzer all profits realized by Defendants by

   reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the Lilly Pulitzer Trademarks be increased by a sum not exceeding three times

   the amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Lilly Pulitzer be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   Lilly Pulitzer Trademarks;




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6) As a direct and proximate result of Defendants’ infringement of the Lilly Pulitzer Copyrighted

   Designs, Lilly Pulitzer is entitled to damages as well as Defendants’ profits, pursuant to 17

   U.S.C. § 504(b);

7) Alternatively, and at Lilly Pulitzer’s election prior to any final judgment being entered, Lilly

   Pulitzer is entitled to the maximum amount of statutory damages provided by law, $150,000

   per work infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be

   proper pursuant to 17 U.S.C. § 504(c);

8) Lilly Pulitzer is further entitled to recover its attorneys’ fees and full costs for bringing this

   action pursuant to 17 U.S.C. § 505 and 17 U.S.C. § 1117(a); and

9) Award any and all other relief that this Court deems just and proper.

Dated this 22nd day of August 2019.           Respectfully submitted,


                                              /s/ Justin R. Gaudio
                                              Amy C. Ziegler
                                              Justin R. Gaudio
                                              RiKaleigh C. Johnson
                                              Greer, Burns & Crain, Ltd.
                                              300 South Wacker Drive, Suite 2500
                                              Chicago, Illinois 60606
                                              312.360.0080
                                              312.360.9315 (facsimile)
                                              aziegler@gbc.law
                                              jgaudio@gbc.law
                                              rjohnson@gbc.law

                                              Counsel for Plaintiff Sugartown Worldwide LLC




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